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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   FRESENIUS KABI USA, LLC,              )
                                         )
                     Plaintiff,          )
                                         )
       v.                                )                            Civil Action No.
   AMNEAL PHARMACEUTICALS LLC, AMNEAL )
   PHARMACEUTICALS OF NEW YORK, LLC, and )
   AMNEAL EU, LIMITED,                   )
                                         )
                     Defendants.         )
                                         )
                                         )

                                          COMPLAINT

       Fresenius Kabi USA, LLC (“Fresenius” or “Plaintiff”) brings this action for patent

infringement against Defendants Amneal Pharmaceuticals LLC (“Amneal Pharma”), Amneal

Pharmaceuticals of New York, LLC (“Amneal NY”), and Amneal EU, Limited (“Amneal EU”)

(collectively, “Amneal” or “Defendants”).

       1.      This is an action by Fresenius against Defendants for infringement of United States

Patent No. 8,476,010 (“the ʼ010 patent”). This action arises out of Defendants’ filing of an

Abbreviated New Drug Application (“ANDA”) seeking approval by the United States Food and

Drug Administration (“FDA”) to sell a generic version of Diprivan®, an innovative intravenously

administered sedative and anesthetic, prior to the expiration of the ʼ010 patent.

                                         THE PARTIES

Plaintiff

       2.      Fresenius is a Delaware limited liability company with its principal place of

business at Three Corporate Drive, Lake Zurich, Illinois 60047. Fresenius was formerly known

as APP Pharmaceuticals, LLC.



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Defendants

          3.   Upon information and belief, Defendant Amneal Pharma is a limited liability

company organized and existing under the laws of Delaware, having a principal place of business

at 400 Crossing Boulevard, 3rd Floor, Bridgewater, NJ 08807.

          4.   Upon information and belief, Defendant Amneal NY is a limited liability company

organized and existing under the laws of the State of Delaware, having a principal place of business

at 400 Crossing Boulevard, 3rd Floor, Bridgewater, NJ 08807. Upon information and belief,

Amneal NY is a wholly owned subsidiary of Amneal Pharma. Upon information and belief,

Amneal NY is the U.S. agent for Amneal EU.

          5.   Upon information and belief, Defendant Amneal EU is a company organized and

existing under the laws of Ireland, having a place of business at Cahir Road, Cashel, Co. Tipperary,

Ireland E25 XD5l. Upon information and belief, Amneal EU is an indirect wholly owned

subsidiary of Amneal Pharma.

                                JURISDICTION AND VENUE
Subject Matter Jurisdiction
          6.   This action for patent infringement arises under 35 U.S.C. § 271.

          7.   This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 2201, and 2202.

Personal Jurisdiction

          8.   Upon information and belief, this Court has personal jurisdiction over Defendants

because, inter alia, they have maintained continuous and systematic contacts with the State of New

Jersey.

          9.   Upon information and belief, this Court also has personal jurisdiction over

Defendants because, inter alia, they have committed, or aided, abetted, contributed to, or


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participated in the commission of, tortious conduct, which will lead to foreseeable harm and injury

to Fresenius in the State of New Jersey, and by doing so, Defendants have purposefully directed

their activities at the residents of this forum.

        10.     Upon information and belief, this Court has personal jurisdiction over Defendant

Amneal Pharma because it has its principal place of business in New Jersey.

        11.     Upon information and belief, this Court has personal jurisdiction over Defendant

Amneal NY because it has its principal place of business in New Jersey.

        12.     Upon information and belief, this Court has personal jurisdiction over Defendant

Amneal EU because its U.S. agent, Amneal NY, has its principal place of business in New Jersey.

        13.     Upon information and belief, Defendants have previously availed themselves of

this Judicial District by not contesting personal jurisdiction in at least the following actions: Cubist

Pharms. LLC v. Amneal Pharms. LLC et al., Civil Action No. 3:19-cv-15439 (D.N.J. filed July

16, 2019); and TherapeuticsMD, Inc. v. Amneal Pharms., Inc. et al., Civil Action No. 3:20-cv-

05256-FLW-TJB (D.N.J. filed Apr. 29, 2020).

        14.     Upon information and belief, Defendants have engaged in continuous and

systematic contacts with the State of New Jersey and/or purposefully have availed themselves of

this forum by, inter alia, individually and/or in concert, making, marketing, shipping, using,

offering to sell or selling Defendants’ pharmaceutical products in this Judicial District, and

deriving substantial revenue from such activities.

        15.     Upon information and belief, Defendants have engaged in and maintained

systematic and continuous business contacts within the State of New Jersey, and have purposefully

availed themselves of the benefits and protections of the laws of the State of New Jersey, rendering

them at home in the State of New Jersey.




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          16.   Upon information and belief, Defendants operate as a single vertically-integrated

business with respect to the regulatory approval, manufacturing, marketing, sale and distribution

of pharmaceutical products throughout the United States, including in this Judicial District.

          17.   Upon information and belief, Defendants, individually and/or in concert, have

committed, or aided, abetted, contributed to and/or participated in the commission of the tortious

action of patent infringement that has led to foreseeable harm and injury to Fresenius, which sells

Diprivan® for use throughout the United States, including the State of New Jersey.

          18.   Upon information and belief, Defendants have applied for FDA approval to market

and sell a generic version of Diprivan® throughout the United States, including the State of New

Jersey.

          19.   Defendants’ submission of their ANDA to FDA evinces their intent to subject

themselves to the jurisdiction of the courts where the drug that is the subject of the ANDA will be

sold, including in the State of New Jersey.

          20.   Defendants sent a letter, dated June 28, 2023 (the “Notice Letter”), to Fresenius

stating that Defendants had filed ANDA No. 217525 seeking FDA approval to market generic

Diprivan® products (“Defendants’ generic Diprivan® products”) prior to the expiration of the ʼ010

patent. The Notice Letter was sent from the State of New Jersey by Bryan Sommese, Esq., Senior

Patent Litigation Counsel IP, for Amneal Pharma in Bridgewater, New Jersey, on behalf of Amneal

NY and Amneal EU.

          21.   Upon information and belief, Defendants acted in concert to prepare and submit

ANDA No. 217525.




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        22.    Upon information and belief, Defendants, individually and/or in concert, will

market, sell and offer for sale Defendants’ generic Diprivan® products in the State of New Jersey

following FDA approval of those products.

        23.    Upon information and belief, as a result of Defendants’ marketing, selling, or

offering for sale of Defendants’ generic Diprivan® products in the State of New Jersey, Fresenius

will lose sales of Diprivan® and be injured in the State of New Jersey.

        24.    This Court’s exercise of jurisdiction over Defendants is fair and reasonable.

Defendants are not burdened by litigating this suit in the State of New Jersey. The State of New

Jersey has an interest in providing a forum to resolve Hatch-Waxman litigation, including in this

case, because this case involves products that will be sold in the State of New Jersey by New

Jersey-based companies and injury to Fresenius in the State of New Jersey. This Court’s exercise

of jurisdiction serves the interests of the judicial system in efficient resolution of Hatch-Waxman

litigation.

        25.    Upon information and belief, this Court has personal jurisdiction over Defendants

for the reasons stated herein, including, inter alia, Defendants’ activities in the forum, activities

directed at the forum, and significant contacts with the forum, all of which render Defendants at

home in the forum. Personal jurisdiction is proper at least under Acorda Therapeutics Inc. v. Mylan

Pharms. Inc., 817 F.3d 755 (Fed. Cir. 2016).

        26.    In the alternative, Defendant Amneal EU is subject to personal jurisdiction in this

forum under Federal Rule of Civil Procedure 4(k)(2).

Venue
        27.    Venue is proper in this Judicial District under 28 U.S.C. §§ 1391 and 1400(b). In

re HTC Corp., 889 F.3d 1349, 1354 (Fed. Cir. 2018).

        28.    Upon information and belief, Defendants have a regular and established place of


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business in this Judicial District and have committed and/or will commit acts of infringement in

this Judicial District.

        29.     Upon information and belief, Defendants have not contested venue in this Judicial

District in at least the following actions: Cubist Pharms. LLC v. Amneal Pharms. LLC et al., Civil

Action No. 3:19-cv-15439 (D.N.J. filed July 16, 2019); and TherapeuticsMD, Inc. v. Amneal

Pharms., Inc. et al., Civil Action No. 3:20-cv-05256-FLW-TJB (D.N.J. filed Apr. 29, 2020).

        30.     Upon information and belief, Defendant Amneal Pharma has a regular and

established place of business in this Judicial District at least because it: (1) has a principal place

of business in the State of New Jersey; (2) has acted in concert with Amneal NY and Amneal EU

to seek approval from FDA to market and sell Defendants’ generic Diprivan® products in this

Judicial District; (3) has engaged in regular and established business contacts with the State of

New Jersey by, inter alia, contracting and engaging in related commercial activities related to the

marketing, making, shipping, using, offering to sell or selling Defendants’ products in this Judicial

District, and deriving substantial revenue from such activities; and (4) has made agreements with

retailers, wholesalers or distributors providing for the distribution of Defendants’ products in the

State of New Jersey.

        31.     Upon information and belief, Defendant Amneal NY has a regular and established

place of business in this Judicial District at least because it: (1) has a principal place of business

in New Jersey; (2) has acted in concert with Amneal Pharma and Amneal EU to seek approval

from FDA to market and sell Defendants’ generic Diprivan® products in this Judicial District; (3)

has engaged in regular and established business contacts with the State of New Jersey by, inter

alia, contracting and engaging in related commercial activities related to the marketing, making,

shipping, using, offering to sell or selling Defendants’ products in this Judicial District, and




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deriving substantial revenue from such activities; and (4) has made agreements with retailers,

wholesalers or distributors providing for the distribution of Defendants’ products in the State of

New Jersey.

       32.       Upon information and belief, Defendant Amneal EU has a regular and established

place of business in this Judicial District at least because it: (1) conducts business, individually

and/or in concert with its U.S. agent, which is located in the State of New Jersey, in this Judicial

District; and (2) has engaged in regular and established business contacts with the State of New

Jersey by, inter alia, marketing, making, shipping, using, offering to sell or selling Defendants’

products in this Judicial District, and deriving substantial revenue from such activities.

       33.       Venue is also proper in this Judicial District for Amneal EU at least because, inter

alia, Amneal EU is a foreign corporation organized and existing under the laws of Ireland and may

be sued in any judicial district in which it is subject to personal jurisdiction, including in the State

of New Jersey.

                                          BACKGROUND

The Patent-in-Suit: United States Patent No. 8,476,010
       34.       The ʼ010 patent, entitled “Propofol Formulations with Non-Reactive Container

Closures,” was duly and lawfully issued on July 2, 2013, to inventors Neil P. Desai, Andrew Yang,

and Sherry Xiaopei Ci. The named inventors assigned the ʼ010 patent to APP Pharmaceuticals,

LLC, which later changed its name to Fresenius Kabi USA, LLC. Accordingly, Fresenius is the

owner of all rights, title and interest in the ʼ010 patent. The ʼ010 patent will expire, with a period

of pediatric exclusivity, on June 1, 2025. A true and accurate copy of the ʼ010 patent is attached

hereto as Exhibit A.




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       35.     The ʼ010 patent is listed in FDA’s publication entitled, “Approved Drug Products

with Therapeutic Equivalence Evaluations,” commonly referred to as “The Orange Book,” with

respect to Diprivan®.

       36.     On or about January 16, 2020, after the conclusion of inter partes review (and the

appeal therefrom), the United States Patent and Trademark Office cancelled claims 1, 13-15, 17,

18, 20 and 24-28 of the ’010 patent. Fresenius is not asserting any of claims 1, 13-15, 17, 18, 20

and 24-28 of the ’010 patent in this action. The remaining claims of the ’010 patent are, and

remain, valid and enforceable.

The Diprivan® Drug Product

       37.     Fresenius currently sells, promotes, distributes and markets Diprivan® (propofol)

injectable emulsion in the United States.

       38.     Diprivan® is indicated, generally speaking, for the induction and maintenance of

general anesthesia and sedation in certain patient populations.

       39.     Fresenius holds an approved New Drug Application (“NDA”) No. 19627, under

Section 505(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 355(a), for and in

connection with the Diprivan® (propofol) injectable emulsion product containing 10 mg propofol

per 1 mL of emulsion.

Defendants’ ANDA

       40.     Defendants filed with the FDA an ANDA, under 21 U.S.C. § 355(j) (“Defendants’

ANDA”), seeking approval to manufacture, use, offer for sale, sell in and import into the United

States Defendants’ generic Diprivan® products (Propofol Injectable Emulsion USP, 10 mg/mL, in

20 mL, 50 mL and 100 mL single-dose vials), prior to the expiration of the ʼ010 patent.

       41.     The FDA assigned Defendants’ ANDA the number 217525.



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       42.     Defendants filed with FDA, pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), a

certification alleging that the claims of the ʼ010 patent are invalid, unenforceable and/or would not

be infringed by the manufacture, use, importation, sale or offer for sale of Defendants’ generic

Diprivan® products (“Defendants’ Paragraph IV Certification”). Defendants notified Fresenius of

Defendants’ Paragraph IV Certification in their Notice Letter, dated June 28, 2023, sent by United

Parcel Service.

       43.     This action is being commenced within forty-five (45) days of Fresenius’ receipt of

Defendants’ Notice Letter.

             COUNT I FOR INFRINGEMENT OF U.S. PATENT NO. 8,476,010
                               BY DEFENDANTS

       44.     The allegations of paragraphs 1-43 are realleged and incorporated herein by

reference.

       45.     Defendants have infringed the ʼ010 patent by submitting and maintaining

Defendants’ ANDA to and before FDA seeking approval to market Defendants’ generic Diprivan®

products before the expiration of the ʼ010 patent.

       46.     The use of Defendants’ generic Diprivan® products is covered by one or more

claims of the ʼ010 patent literally and/or under the doctrine of equivalents.

       47.     Upon information and belief, the commercial manufacture, use, offer for sale, sale,

marketing, distribution and/or importation of Defendants’ generic Diprivan® products would

infringe one or more claims of the ʼ010 patent, for example, at least claim 21 of the ’010 patent.

       48.     Claim 21, which depends directly from claim 1, claims and is directed to: a sterile

pharmaceutical composition of propofol in a container, comprising: a container which includes a

closure and a composition in the container, and the composition in the container comprising from

0.5% to 10% by weight propofol and from about 0 to about 10% by weight solvent for propofol,


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where when the composition in the container sealed with the closure is agitated at a frequency of

300-400 cycles/minute for 16 hours at room temperature, the composition maintains a propofol

concentration (w/v) measured by HPLC that is at least 93% of the starting concentration (w/v) of

the propofol; where the closure is selected from the group consisting of siliconized bromobutyl

rubber, metal, and siliconized chlorobutyl rubber; and wherein the closure also comprises metal.

       49.     Upon information and belief, Defendants’ generic Diprivan® products comprise: a

sterile pharmaceutical composition of propofol in a container; a container which includes a closure

and a composition in the container; a composition in the container comprising from 0.5% to 10%

by weight propofol and from about 0 to about 10% by weight solvent for propofol, where when

the composition in the container sealed with the closure is agitated at a frequency of 300-400

cycles/minute for 16 hours at room temperature, the composition maintains a propofol

concentration (w/v) measured by HPLC that is at least 93% of the starting concentration (w/v) of

the propofol; a closure selected from the group consisting of siliconized bromobutyl rubber, metal,

and siliconized chlorobutyl rubber; and wherein the closure also comprises metal.

       50.     Defendants’ Notice Letter does not contest, or otherwise assert any grounds

challenging, the validity or enforceability of claim 21 of the ’010 patent.

       51.     Defendants were aware of the ʼ010 patent prior to the submission of Defendants’

ANDA and were further aware that filing Defendants’ ANDA with Defendants’ Paragraph IV

Certification constituted an act of infringement of the ’010 patent.

       52.     Upon information and belief, Defendants intend to engage, or direct or induce

others to engage, in the manufacture, use, offer for sale, sale, marketing, distribution and/or

importation of Defendants’ generic Diprivan® products immediately and imminently upon

approval of Defendants’ ANDA.




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       53.     The foregoing actions by Defendants constitute and/or would constitute direct,

induced and/or contributory infringement of the ʼ010 patent.

       54.     Fresenius will be substantially and irreparably harmed by Defendants’ infringing

activities unless the Court enjoins those activities. Fresenius will have no adequate remedy at law

if Defendants are not enjoined from the commercial manufacture, use, offer to sell, sale in and

importation into the United States of Defendants’ generic Diprivan® products.

        COUNT II FOR DECLARATORY JUDGMENT OF INFRINGEMENT OF
                  U.S. PATENT NO. 8,476,010 BY DEFENDANTS

       55.     The allegations of paragraphs 1-54 are realleged and incorporated herein by

reference.

       56.     Upon information and belief, Defendants plan to begin manufacturing, marketing,

selling, offering to sell and/or importing Defendants’ generic Diprivan® products soon after FDA

approval of Defendants’ ANDA.

       57.     Upon information and belief, such conduct will constitute direct or indirect

infringement of one or more claims of the ’010 patent under 35 U.S.C. § 271.

       58.     Defendants’ infringing activity complained of herein is imminent and will begin

following FDA approval of Defendants’ ANDA.

       59.     As a result of the foregoing facts, there is a real, substantial and continuing

justiciable controversy between Fresenius and Defendants as to liability for infringement of the

’010 patent.   Defendants’ actions have created in Fresenius a reasonable apprehension of

irreparable harm and loss resulting from Defendants’ threatened imminent actions.

       60.     Fresenius will be irreparably harmed if Defendants are not enjoined from infringing

the ’010 patent.




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                                 PRAYER FOR RELIEF

       WHEREFORE, Fresenius respectfully requests the following relief:

       a.      A judgment that Defendants’ submission of Defendants’ ANDA No. 217525

infringes one or more claims of the ʼ010 patent and that the making, using, offering to sell or

selling in the United States, or importing into the United States of Defendants’ generic

Diprivan® products prior to the expiration of the ʼ010 patent will infringe one or more claims

of the ʼ010 patent;

       b.      An Order pursuant to 35 U.S.C. § 271(e)(4)(A) providing that the effective date

of any FDA approval of Defendants’ ANDA No. 217525 seeking approval to manufacture, use,

offer for sale, sell in and import into the United States Defendants’ generic Diprivan® products

or any product or compound the use of which infringes the ʼ010 patent, shall be a date that is

not earlier than the expiration of the ’010 patent, including any period of pediatric exclusivity;

       c.      An Order permanently enjoining Defendants and all persons acting in concert

with Defendants from commercially manufacturing, using, offering for sale, selling, marketing,

distributing or importing Defendants’ generic Diprivan® products, or any other product or

compound the use of which infringes the ʼ010 patent, or inducing or contributing to the

infringement of the ʼ010 patent, until after the expiration of the ’010 patent;

       d.      An Order enjoining Defendants and all persons acting in concert with

Defendants from seeking, obtaining or maintaining approval of Defendants’ ANDA No.

217525 before the expiration of the ʼ010 patent;

       e.      An award of Fresenius’ damages or other monetary relief to compensate

Fresenius if Defendants engage in the commercial manufacture, use, offer to sell, sale or

marketing or distribution in, or importation into, the United States of Defendants’ generic




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 Diprivan® products, or any product or compound the use of which infringes the ʼ010 patent,

 prior to the expiration of the ʼ010 patent in accordance with 35 U.S.C. § 271(e)(4)(C);

        f.        An award of Plaintiff’s reasonable costs and expenses in this action; and

        g.        An award of any further and additional relief to Plaintiff as this Court deems just

 and proper, including attorneys’ fees under 35 U.S.C. § 285 if supported by the totality of the

 circumstances.

Dated: August 11, 2023                     Respectfully submitted,

                                           /s/ Eric I. Abraham
                                               ERIC I. ABRAHAM

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